    Case 21-40834-drd11         Doc 200 Filed 10/27/21 Entered 10/27/21 08:23:04               Desc
                                   Main Document    Page 1 of 2
                         IN THE UNITED STATES BANKRUPTCY COURT FOR
                              THE WESTERN DISTRICT OF MISSOURI
                                       WESTERN DIVISION

   IN RE:                                                       )
                                                                )       Case. No. 21-40834
   INTERSTATE UNDERGROUND WAREHOUSE                             )       Chapter 11
   AND INDUSTRIAL PARK, INC.                                    )
                                                                )
                                  Debtor.                       )

        MOTION FOR ADDITIONAL TIME TO EXTEND THE EXCLUSIVITY PERIODS FOR
                THE DEBTOR TO FILE A PLAN OF REORGANIZATION AND
             DISCLOSURE STATEMENT AND FOR ACCEPTANCE OF THE PLAN

   COMES NOW the Debtor Interstate Underground Warehouse and Industrial Park, Inc., by and through

its attorneys, and pursuant to 11 U.S.C. Section 1121(d)(1), moves the Court for its Order extending the

exclusivity periods of 11 U.S.C. Sections 1121(b) and (c) for Debtor to file its Plan of Reorganization

and Disclosure Statement and to extend the exclusivity period for the acceptance of its Plan. In support

of its Motion, Debtor states the following:

       1. The Debtor filed its petition for relief under Chapter 11 on July 1, 2021.

       2. The deadline for Debtor to be the exclusive party to file a Plan of Reorganization and

            Disclosure Statement is October 29, 2021. The 180 period for acceptance of a Plan presently

            expires on April 27, 2022.

       3. A motion to employ Erlene W. Krigel and Krigel and Krigel, P.C. as attorneys for the Debtor

            was filed with the Bankruptcy Court on October 22, 2021 and has not yet been approved by

            the Court.

       4. Further, several members of the former law firm retained by the Debtor have just filed

            Motions to withdraw as counsel. The undersigned has not had an opportunity to discuss the

            terms of a Plan with prior counsel and with the Debtor’s representative.

       5. An extension for the deadlines in Section 1121(b) and (c)(2), and the deadline in Section

            1121(c)(3) is necessary for Debtor to confer with counsel and draft a Plan of Reorganization
    Case 21-40834-drd11         Doc 200 Filed 10/27/21 Entered 10/27/21 08:23:04 Desc
                                  Main Document          Page 2 of 2
            and Disclosure Statement, liquidation analysis and budget projections. Debtor requests that

            the Court extend the exclusivity period for Debtor to file its Plan of Reorganization and

            Disclosure Statement to December 28, 2021. Debtor requests that the Court extend the

            exclusivity period for the acceptance of the Plan of Reorganization to June 27, 2022.

       6.   Pursuant to 11 U.S.C. Section 1121(e), the Court, after notice and hearing or for cause, may

            extend the exclusivity deadline for filing a Plan of Reorganization and Disclosure Statement

            and to extend the exclusivity period for the acceptance of a Plan of Reorganization.

       7. This extension will work to benefit all creditors and the Debtor. It will not work a hardship

            on any party.

            WHEREFORE, the Debtor moves the Court for its Order granting an extension of the

            exclusivity period for the Debtor to file the Plan of Reorganization and Disclosure Statement

            to December 28, 2021 and to extend the exclusivity period for the acceptance of the Plan to

            June 27, 2022, and for such other and further relief as the Court deems just and proper.

            .                                      KRIGEL & KRIGEL, P.C.

                                                    /s/ Erlene W. Krigel
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                                                   ATTORNEYS FOR DEBTOR


                                     CERTIFICATE OF SERVICE

    I hereby certify that on October 27, 2021, a copy of this Motion will be mailed, electronically or by
U. S. Postal Service, postage prepaid, to all creditors and parties in interest listed on the Court’s mailing
matrix, including the United States Trustee’s Office.

                                                   /s/ Erlene W. Krigel
                                                   Erlene W. Krigel
